21 F.3d 1112w
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.F. Farah ETEMAD, Plaintiff-Appellant,v.STATE OF CALIFORNIA, DEPARTMENT OF TOXIC SUBSTANCE CONTROL(DTSC), Defendant-Appellee.
    No. 93-55385.
    United States Court of Appeals, Ninth Circuit.
    Submitted April 5, 1994.*Decided April 11, 1994.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    